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  F1ll 1n this information to identity the case:

  United States Bankruptcy Court for the:

      Southern District of New York

  Case number      (trknoWn) _ _ _ _ _ _ _ _ _ _                 Chapter 15                                                                       D   Check if this is an
                                                                                                                                                      amended filing


Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                    1211s

If more space Is needed, attach a separate sheet to this fonn. On the top of any addtuonal pages, wrtte debtor's name and case number (tf known).



1.      Debtor's name
                                              Avanti Communications Group pie



 2.     Debtor's unique ldentlfler            For non-Individual debtors:

                                                      D       Federal Employer ldentlflcatlon Number (EIN)

                                                      li!I'   Other   06133927                          Describe Identifier    Registration Number

                                              For lndlvldual debtors:

                                                      D       Social Security number:   xxx - xx- - - - - - - - -

                                                      D       Individual Taxpayer Identification number (ITIN): 9 xx - xx - _ _ _ _ _ _ __

                                                      D Other _ _ _ _ _ _ _ _ _ __                      Describe Identifier _ _ _ _ _ _ _ _ _ _ __

- - - - - - - - - - - - - ---------- ---
 3. Name of foreign
    representatlve(s)     ~P~a=t~ric~k~Wi~1~llcoc=~k=s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 •- Foreign proceeding In which
    appointment of the foreign                High Court of Justice of England and Wales (Part 26 of Companies Act of 2006)
    representatlve(s) occurred

 6.     Nature of the foreign
                                              Check one:
        proceeding
                                              ~       Foreign main proceeding
                                              D       Foreign nonmain proceeding
                                              D       Foreign main proceeding, or in the alternative foreign nonmain proceeding


 6.     Evidence of the foreign               1az1    A certified copy, translated Into English, of the decision commencing the foreign proceeding and
        proceeding                                    appointing the foreign representative is attached.

                                              D       A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                      proceeding and of the appointment of the foreign representative, is attached.

                                              D       other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                      representative is described below, and relevant documentation, translated into English, is attached.




 1.     Is this the only foreign              D       No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
        proceeding with respect to                    debtor is pending.)
        the debtor known to the
        foreign representaUve(s)?             Iii!    Yes




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Debtor          Avanti Communications Group pie                                                  Case number (•fknown) _ _ _ _ _ _ _ _ _ _ _ _ __
                 Name



a. Others entitled to notice           Attach a list containing the names and addresses of:
                                       (i)     all persons or bodies authorized to administer foreign proceedings of the debtor,
                                       (ii)    all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                               petition, and
                                       (iii) all entities against whom provisional relief is being sought under§ 1519 of the Bankruptcy Code.


9.    Addresses                        Country where the debtor has the center of its                    Debtor's registered office:
                                       main interests:


                                        United Kingdom                                                   Cobham House
                                                                                                         Number       Street

                                                                                                         20 Black Friars Lane
                                                                                                         P.O. Box

                                                                                                         London, EC4V 6EB
                                                                                                         City            State/Province/Region   ZIP/Postal Code


                                                                                                         United Kingdom
                                                                                                         Country




                                       Individual debtor's habitual residence:                           Address of foreign representative(s):



                                         N/A                                                             Cobham House
                                       Number           Street                                           Number        Street

                                                                                                         20 Black Friars Lane
                                       P.O. Box                                                          P.O. Box

                                                                                                          London, EC4V 6EB
                                       City                 State/Province/Region   ZIP/Postal Code      City            State/Province/Region    ZIP/Postal Code


                                                                                                          United Kingdom
                                       Country                                                           Country




10.   Debtor's website (URL)            www.avantiplc.com


11.    Type of debtor                  Check one:

                                       \iZI    Non·individual (check one):

                                                 I.ti   Corporation. Attach a corporate ownership statement containing the information
                                                        described in Fed. R. Bankr. P. 7007.1.

                                                 D      Partnership

                                                 D      Other. Specify:    See Willcock's Declaration for Ownership Statement
                                       D       Individual




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               ~Y,antj_ Comrriun[93tlons Group~--~-~~
                   "<ll:M




  12 Why is venue proper in this     Chockonfr
       district?                     21    Debtors pnnc1pa1 place of business or pnrcipai assets     >11   the Uri1ted Slates are   1n thl!s district
                                     U     Debtur does not have a place of business or assets in t>ic United States, but the fo!tow1ng
                                           action or proceeding 1n a federal or state court 1s pcmd;ng agamst the debtor in this district:


                                     D     If neithec box is ci,.>ck<>d, 'enue '' co°'isteni with the intcrnets of icstiro and the cmwonience
                                           of the parties, having regard to the relief sought by th€ foreign representative, because:




  13. Signature of foreign
       representative{ s)            I reQuest relief In accordance with er.apter 15 of title 11, United States Code,

                                     ! arn the foreign representative of a debtor in a foreign proceeding, the debtor is e!lglble for the
                                     relief sought in thts petition, and ! am authorized to file this petition

                                     ! have examined the information in this petition and have a reasonable belief that the
                                     information is true and correct.

                                     I deciare under penalty of perjury that the foregoing is true and correct,


                                     X l,sl ,Pat"."'k~\/'l~lcock§                                   Patrick Willcocks
                                          Stgnature of formgn rapresentaiNB                         Printed "larne


                                                           021?112Q~~
                                                           MM !DOI YYYY




                                          S;gnature of fote'gf1 representative                      :::innted name


                                     Executed on       O::>J;;i\}?J>I~
                                                        MM 1nor YYYY



  14   Signature of attorney
                                          Sigria!ure of Altorney for foreign representative
                                                                                                    Date          Ql[1i\10
                                                                                                                   MM         i 00/YYYY




                                          28 Liberty Street
                                          Numtmr       Stroot
                                                                                                             NY

                                          (21.2J~9:?QfJQ ..                                                 c;pI)~@mij~§TI_~:£~1JJ
                                          C0ntact PhOrte                                                    Er11ail address




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     IN THE HIGH COURT OF JUSTICE                                     Claim No. CR-2018-001278
     CHANCERY DIVISION

     COMPANIES COURT



     THE HONOURABLE MR JUSTICE BIRSS



                                                                                 19 February 2018

     IN THE MATTER OF


     AV ANTI COMMUNICATIONS GROUP PLC

     AND


     THE COMPANIES ACT 2006



                                        CONVENING ORDER




     UPON THE APPLICATION OF Avanti Communications Group Pie (the "Company") by a
     Part 8 Claim Form dated 14 February 2018 (the "Application")
     AND UPON HEARING William Trower QC and Adam Al-Attar for the Company

     AND UPON READING the Part 8 Claim Form and the Witness Statement of Nigel Fox and
     the exhibits thereto
     AND UPON READING the proposed scheme of arrangement (the "Scheme") and the
     proposed explanatory statement in relation thereto pursuant to section 897 of the Companies
     Act 2006 (the "Explanatory Statement")

     AND UPON the Court adopting in this Order, save where terms are otherwise expressly
     defined, the abbreviations, words and phrases contained in the Explanatory Statement and the
     Scheme
     IT IS ORDERED that:

     1.     The Company be at liberty to convene a meeting of the Scheme Creditors (the "Scheme
            Meeting") for the purpose of considering and, if thought fit, approving (with or without
            modification) the scheme of arrangement (the "Scheme") pursuant to Part 26 of the Act
            proposed to be made between the Company and the Scheme Creditors.




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     2.    The Scheme Meeting shall be held at 10.00 a.m. London time on 20 March 2018 (or such
           other time or date as the Company may decide) at the offices of Milbank, Tweed, Hadley
           & McCloyLLP, 10 Gresham Street, London, EC2V7JD (or if such venue is not available,
           such other suitable venue in central London as the directors of the Company may select).

     3.    Nigel Fox or, if for any reason he is unable to act, Nick Angel, be appointed to act as
           chairman of the Scheme Meeting (and any adjournment thereof) (the "Chairman") and
           be directed to report the result of the Scheme Meeting to the Court.

     4.    The Chairman shall first give an introductory address outlining the main terms of the
           Scheme proposed in respect of the Company, the method of voting atthe Scheme Meeting
           and any other appropriate matters, following which the Chairman shall open the Scheme
           Meeting for the purpose of allowing Scheme Creditors to vote on the Scheme. Following
           the taking of the vote in the Scheme Meeting, the Chairman shall conclude the Scheme
           Meeting, give a closing address and close the Scheme Meeting.

     5.    At least 28 clear days before the day appointed for the Scheme Meeting, copies of the
           following documents will be made available to all Scheme Creditors:

           (a)     the Explanatory Statement in accordance with section 897 of the Act;

           (b)     the terms of the Scheme;

           (c)     a notice convening the Scheme Meeting (the "Notice"); and

           ( d)    an account holder letter, including guidance notes for the completion thereof,

           (together, the "Scheme Documents"), in each case, in substantially the form as initialled
           by Mr Justice Birss on the date of this order subject to completion of blanks, correction
           of typographical errors and such minor or immaterial modifications as Milbank may
           advise. The Scheme Documents shall be made available to Scheme Creditors by sending
           such documents and a notice directing Scheme Creditors to the Scheme Website
           (https://sites.dfkingltd.com/avanti) maintained by D.F. King (the "Information and
           Tabulation Agent"). The documents will also be posted on the Scheme Website and the
           Information and Tabulation Agent will email the notice directing Scheme Creditors to the
           Scheme Website to each DTC Participant the Information and Tabulation Agent is aware
           of.

     6.    Until the date of the Scheme Meeting, hard copies of the Scheme Documents shall also
           be made available free of charge to any of the Scheme Creditors upon request to Milbank
           (reference Avanti, +44 207 615 3000, avanti@milbank.com).

     7.    Unless the Court orders otherwise, the accidental omission to serve any Scheme Creditor
           with notice of the Scheme Meeting or the non-receipt of notice of the Scheme Meeting
           by any Scheme Creditor shall not invalidate the proceedings at the Scheme Meeting.

     8.    In order to vote on the Scheme by proxy, Scheme Creditors are requested to liaise with
           their Account Holder to ensure that a validly completed Account Holder Letter is
           delivered to the Information and Tabulation Agent in accordance with the terms set out
           therein as soon as possible after the Record Time (being 5.00 p.m. New York time on 12



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            March 2018) and in any event to be received no later than the Voting Submission Deadline
            (being 5 .00 p.m. New York time on 16 March 2018).
     9.     If the Scheme Creditor or its representative is attending the Scheme Meeting to vote in
            person, it must either hand in a validly completed Account Holder Letter at the registration
            desk prior to the commencement of the Scheme Meeting, or otherwise provide
            satisfactory evidence to the Chairman and Information and Tabulation Agent at or in
            advance of the Scheme Meeting of(a) the principal amount of2023 Notes held by that
            Scheme Creditor at the Record Time; (b) the Scheme Creditor's entitlement to vote; and
            (c) the Scheme Creditor's representative's identity and authority to represent the Scheme
            Creditor at the Scheme Meeting.
     I 0.   The Chairman be at liberty for any reason and without the consent of the Scheme
            Creditors to adjourn the Scheme Meeting from time to time to the same or another place
            in London, and to such date and time, by notice to the Scheme Creditors in the same
            manner as notice was given to them of the information referred to in paragraph 5.
     11.    The Chairman be entitled to rely on the signatures on the Account Holder Letters as a
            warranty that the signatory has been duly authorised by the relevant Scheme Creditor to
            sign the Account Holder Letter on behalf of that Scheme Creditor.
     I 2.   The Chairman be at liberty to accept an otherwise incomplete or late Account Holder
            Letter at his discretion after the Voting Submission Deadline, provided that any such
            Account Holder Letter is received before he closes the relevant Scheme Meeting.
     I 3.   Any person appointed as proxy for a Scheme Creditor may attend and speak at the Scheme
            Meeting.
     I 4.   If a Scheme Creditor attends the Scheme Meeting to vote in person after having
            nominated a proxy in its Account Holder Letter to vote on its behalf, the appointment of
            that Scheme Creditor's proxy will be automatically revoked.
     15.    The Voting Value of a Scheme Creditor for voting purposes at the Scheme Meeting shall
            be based on the principal amount of 2023 Notes held by that Scheme Creditor as at the
            Record Time (being 5.00 p.m. New York time on 12 March 2018).
     16.    The Chairman be at liberty to permit the attendance of persons who are not otherwise
            entitled to attend and vote at the Scheme Meeting as observers, unless an objection is
            taken by a Scheme Creditor entitled to attend and vote at the Scheme Meeting, provided
            that such a person shall not be entitled to speak at the Scheme Meeting without the
            permission of the Chairman.
     17.    The Chairman may, for voting purposes, reject the Voting Value of a Scheme Creditor if
            he considers that it does not constitute a fair and reasonable assessment of the relevant
            sums owed to the relevant Scheme Creditor, or if the relevant Scheme Creditor has not
            complied with the applicable Account Holder Letter procedures or instructions or any
            undertaking given, including by reference to information confidentially provided to the
            Company by the relevant Scheme Creditor.




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     18.   The Chairman shall have the discretion to accept the Voting Value in respect of which a
           Scheme Creditor seeks to vote, in whole or in part, notwithstanding failure by such
           Scheme Creditor to comply with the requirements contained in the Account Holder Letter,
           if sufficient information has been provided in the Account Holder Letter or by some other
           means to enable the Chairman to determine that the Voting Value asserted by the Scheme
           Creditor is a reasonable assessment of the amounts outstanding to such Scheme Creditor.
     19.   If a Scheme Creditor's Voting Value is disputed (in part) but the Chairman of the relevant
           Scheme Meeting is able to establish a minimum Voting Value for that Scheme Creditor,
           the Chairman will admit that minimum Voting Value.
     20.   If a scheme claim is disputed in its entirety, that claim will be marked "objected to" and,
           at the Chairman's discretion, will be permitted to vote.

     21.    The Chairman be directed to file a report on the Scheme Meeting voting results at least
            two Business Days prior to the hearing of any application for sanction of the Scheme
            (assuming the requisite majority is obtained at the Scheme Meeting).
     22.    Patrick Willcocks, who was appointed by the Board of the Company on 14 February 2018
            to serve as foreign representative in any proceedings under chapter 15 of the United States
            Bankruptcy Code, or if for any reason he is unable to act, such other appropriate person
            selected by the Board of the Company, is authorised to act as foreign representative in
            any proceedings under chapter 15 of the United States Bankruptcy Code in relation to the
            Scheme.

     23.    The Chairman shall have permission to apply for such further direction in this matter as
            he may consider necessary or appropriate.

     24.    The Part 8 Claim Form be adjourned generally with liberty to the Company to restore it.
     25.    If the Scheme is approved at the Scheme Meeting by the required statutory majority, the
            Part 8 Claim Form shall be restored and a further Court hearing at which the Claimants
            shall seek the sanction of the Court for the Scheme shall be listed on or around 26 March
            2018.
     26.    That this Order be served by the Company.

     AND IT IS FURTHER ORDERED that:
     27.    There be liberty to apply for such further directions in this matter as may be necessary or
            appropriate.




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     Dated:       19 February2018
     Service of this Order
     The Court has provided a sealed copy of this Order to the serving party:
     Milbank, Tweed, Hadley & McCloy LLP, I 0 Gresham Street, London, EC2V 7JD
     Ref: SS/NA
     Tel: + 44 (0) 20 7615 3000




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                                              IN THE HIGH COURT OF JUSTICE
                                              CHANCERY DIVISION
                                              COMPANIES COURT

                                                           Claim No. CR-2018-001278


                                              Before the Honourable Mr Justice Birss


                                              19 February 2018


                                              IN THE MATTER OF AVANTI
                                              COMMUNICATIONS GROUP PLC
                                              AND
                                              THE COMPANIES ACT 2006




                                                                   CONVENING ORDER




                                                 Milbank, Tweed, Hadley & McCloy LLP

                                                                          10 Gresham Street
                                                                         London EC2V 7JD

                                                                  Tel: + 44 (0) 20 7615 3000

                                                                             Ref: SS/NJA

                                                                 Solicitors for the Company




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